USDC IN/ND case 3:18-cv-00491-PPS-JEM document 164 filed 05/15/23 page 1 of 4




                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF INDIANA

 IRISH 4 REPRODUCTIVE HEALTH
 et al.,

      Plaintiffs,                                   Case No. 3:18-cv-0491-PPS-JEM

 v.

 UNITED STATES DEPARTMENT OF
 HEALTH AND HUMAN SERVICES
 et al.,

      Defendants.


                                          STATUS REPORT

         On August 25, 2021, the Court granted the parties’ joint motion to stay the proceedings in

this case and ordered Federal Defendants to submit a status report on or before November 17,

2021, and every 90 days thereafter. ECF No. 139. Federal Defendants accordingly submit the

following:

         1.         On August 12, 2021, the Court dismissed a number of the claims at issue in this

case, leaving pending only Plaintiffs’ arbitrary and capricious challenge to the Final Rules. Op.

and Order, ECF No. 137.           Federal Defendants (now the only remaining defendants) have

previously moved for partial summary judgment on the arbitrary and capricious claim. ECF No.

114.

         2.         On August 16, 2021, Federal Defendants announced that “[t]he Departments [of

Health and Human Services, the Treasury, and Labor] intend to initiate rulemaking within 6

months to amend the 2018 final regulations and obtaining public input will be included as part of

the Departments’ rulemaking process.” CMS.Gov, Frequently Asked Questions, Affordable Care



                                                   1
USDC IN/ND case 3:18-cv-00491-PPS-JEM document 164 filed 05/15/23 page 2 of 4


Act Implementation FAQs (Set 48) (Aug. 16, 2021), https://www.cms.gov/files/document/faqs-

part-48.pdf.

       3.      Federal Defendants report that on February 2, 2023 they published a notice of

proposed rulemaking that would “amend regulations regarding coverage of certain preventive

services under the Patient Protection and Affordable Care Act, which requires non-grandfathered

group health plans and non-grandfathered group or individual health insurance coverage to cover

certain contraceptive services without cost sharing.” U.S. Dep’t of the Treasury, U.S. Dept’t of

Labor, & U.S. Dep’t of Health & Human Servs., Coverage of Certain Preventive Services Under

the Affordable Care Act, 88 Fed. Reg. 7,236 (Feb. 2, 2023), https://www.federalregister.gov/

documents/2023/02/02/2023-01981/coverage-of-certain-preventive-services-under-the-

affordable-care-act.

       5.      The comment period for the proposed rule closed on April 3, 2023. Federal

Defendants received more than 44,000 comments on the proposed rule. The Federal Defendants

are now evaluating the comments received on the proposed rule.

       6.      Similar pending cases in California and Pennsylvania remain stayed.            See

California v. HHS, No. 4:17-cv-5783 (N.D. Cal.) (motions held in abeyance Mar. 2, 2021, ECF

No. 454; stayed Aug. 17, 2021); Pennsylvania v. Biden, No. 2:17-cv-4540 (E.D. Pa.) (stayed Mar.

8, 2021, ECF No. 271).

       7.      Federal Defendants propose that this case remain stayed and that Federal

Defendants continue to file status reports every 90 days to apprise the Court of the status of the

rulemaking and their position on the need for a continued stay.

       8.      Undersigned counsel has conferred with counsel for Plaintiffs, and Plaintiffs have

advised that they do not oppose keeping the litigation in its current posture at this time.




                                                  2
USDC IN/ND case 3:18-cv-00491-PPS-JEM document 164 filed 05/15/23 page 3 of 4


 Dated: May 15, 2023                      Respectfully submitted,

                                          BRIAN NETTER
                                          Deputy Assistant Attorney General

                                          MICHELLE R. BENNETT
                                          Assistant Branch Director

                                          /s/ Rebecca M. Kopplin _
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                                      3
USDC IN/ND case 3:18-cv-00491-PPS-JEM document 164 filed 05/15/23 page 4 of 4


                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Status Report was served on

counsel for all parties using the Court’s CM/ECF system on May 15, 2023.



                                                    /s/ Rebecca M. Kopplin
                                                    REBECCA M. KOPPLIN
                                                    Counsel for Federal Defendants




                                                4
